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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
- against -
20-CR-188-JSR
RUBEN WEIGAND and =,
HAMID “RAY” AKHAVAN, [ “ORDER
Defendants.

 

 

Upon the application of the defendant, Hamid “Ray” Akhavan (Register No. 79407-1 12),
by and through his attorneys, the Court hereby orders the Metropolitan Correctional Center
(“MCC”) in New York, New York, to permit Mr. Akhavan to meet with his attorneys, including
Christopher Tayback, William Burck, and/or Sara Clark on Monday, March 8, 2021, and
Tuesday March 9, 2021, from 4:30 PM to 9:00 PM, in order for Mr. Akhavan to prepare for and
assist in his defense.

SO ORDERED.

SAL ea

Dated: March “L 2021 THRAIONORABLE JED 8. RAKOFF
New York, New York UNITED STATES DISTRICT JUDGE

 
